LARRY E. DOXTATER AND KAREN V. DOXTATER, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentDoxtater v. CommissionerDocket No. 24710-87United States Tax CourtT.C. Memo 1992-505; 1992 Tax Ct. Memo LEXIS 535; 64 T.C.M. (CCH) 645; September 3, 1992, Filed *535 Held: The period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partner's individual income tax return, as extended by any agreements relating thereto.  See Siben v. Commissioner, 930 F.2d 1034"&gt;930 F.2d 1034 (2d Cir. 1991), affg. T.C. Memo 1990-435"&gt;T.C. Memo. 1990-435; Stahl v. Commissioner, 96 T.C. 798 (1991). For Petitioners: Declan J. O'Donnell. For Respondent: Randall L. Preheim.  WHITAKERWHITAKERMEMORANDUM FINDINGS OF FACT AND OPINION WHITAKER, Judge: This matter is before the Court on petitioners' motion for summary judgment filed pursuant to Rule 121. 1 Respondent determined a deficiency in, and an addition to, Larry E. and Karen V. Doxtater's (petitioners) Federal income tax for the taxable year, and in the amounts, set forth below: Addition to TaxTax Year EndedDeficiencySec.6653(a)December 31, 1979$ 6,543.22$ 327.16*536  A notice of deficiency was mailed to petitioners on April 28, 1987.  Petitioners resided in Virginia Beach, Virginia, at the time the petition herein was filed.  The issue for decision is whether the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return, or by the filing of the partner's individual income tax return, as extended by any agreements relating thereto. 2FINDINGS OF FACT Petitioners were validly subscribed members of Wyoming Realty, Ltd. (Wyoming Realty), a limited partnership, for the taxable year ending December 31, 1979.  On April 15, 1980, petitioners filed their 1979 individual income*537  tax return. Wyoming Realty filed its 1979 partnership information return on February 4, 1981.  On November 8, 1982, petitioners executed a Form 872-A, thereby extending the time to assess individual income tax against petitioners for the taxable year 1979. Pursuant to Form 872-A, the amount of income tax due for a taxable year may be assessed on or before the 90th day after: (1) Respondent receives a notice of termination from petitioners, (2) respondent mails a notice of termination to petitioners, or (3) respondent mails a notice of deficiency for the applicable period. Respondent neither received a notice of termination from petitioners, nor mailed a notice of termination to petitioners, for the taxable year at issue.  Consequently, as of April 28, 1987, the period of limitations upon assessment had not expired with respect to petitioners' taxable year 1979.  Conversely, as of April 28, 1987, more than 3 years had elapsed since the filing of Wyoming Realty's 1979 partnership information return. On February 3, 1992, petitioners filed a motion for summary judgment asserting that the period of limitations upon assessment had expired with respect to their distributive share of *538  losses, deductions, and credits from Wyoming Realty prior to the issuance of the notice of deficiency. 3OPINION The sole issue for decision is whether the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled*539  by the filing of the partnership's information return, or by the filing of the partner's individual income tax return, as extended by any agreements relating thereto.  Petitioners contend that the period of limitations is controlled by the filing of the partnership's information return. Conversely, respondent contends that the period of limitations is controlled by the filing of the partner's individual income tax return. Respondent agrees that there is no genuine issue as to any material fact relating to the applicable period of limitations upon assessment, and that a decision on this issue may be rendered as a matter of law.  See Rule 121(b). Petitioners cite , revg. and remanding , as authority for the proposition that the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return. In , the Ninth Circuit held that the Commissioner may not adjust a taxpayer-shareholder's individual income tax return based upon*540  an adjustment to a subchapter S corporation's information return when the period of limitations had run as to the subchapter S corporation's return. . We previously considered and rejected the Ninth Circuit's decision in Kelley in determining the period of limitations applicable to a partner's distributive share of partnership items.  In , we held that the filing of a partnership information return does not affect the period of limitations upon assessment applicable to the determination of a deficiency against individual partners of a partnership. Similarly, in , affg. , the Second Circuit held that the applicable period of limitations was controlled by the partners' individual income tax returns rather than by the partnership return.  See also , affg. on this issue . We consider , and ,*541  to be dispositive of this issue; consequently, we hold that the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partner's individual income tax return, as extended by any agreements relating thereto. In accordance with the holding set forth above, petitioners' motion for summary judgment will be denied. An appropriate order will be issued.  Footnotes1. Unless otherwise indicated, all Rule references are to the Tax Court Rules of Practice and Procedure, and all section references are to the Internal Revenue Code of 1954 in effect for the year in issue.↩2. The taxable year at issue antedates the enactment of secs. 6221-6233 which provide that the tax treatment of partnership income, loss, deductions, and credits is to be determined at the partnership level in a unified partnership proceeding for partnership taxable years beginning after Sept. 3, 1982.↩3. On Feb. 11, 1992, petitioners filed an amended petition wherein it was represented that "the parties have settled all issues on the merits of the case in a proposed Stipulation, subject to a determination of jurisdiction as requested herein." Similarly, in the motion for summary judgment, petitioners represent that "no trial on the merits is expected because the parties have executed a Stipulation, subject to jurisdiction." In the notice of objection to motion for summary judgment, however, respondent asserts that neither a stipulation of settled issues nor a closing agreement has been executed by the parties.  Consequently, petitioners' motion for summary judgment is properly viewed as a motion for partial summary judgment. See Rule 121(c).↩